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 Brian T. Crowley
 Counsel for John M. McDonnell,
 Chapter 7 Trustee

                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY


  In re:                                                Case No. 20-12285 (KCF)

  MICHAEL G. DALY,                                      Honorable Kathryn C. Ferguson

                          Debtor.                       Chapter 7


                     APPLICATION FOR ENTRY OF A STIPULATION
                 AND CONSENT ORDER PROVIDING FOR CLARIFICATION
                  ON THE PRIORITY AND STATUS OF CERTAIN CLAIMS

           John M. McDonnell, the chapter 7 trustee (the “Trustee”), not individually or personally,

 but as the Trustee for the bankruptcy estate of Michael G. Daly, the chapter 7 debtor (the

 “Debtor”), by and through his counsel, McDonnell Crowley, LLC, hereby requests the entry of a

 proposed stipulation and consent order (the “Stipulation and Consent Order”) between the

 Internal Revenue Service (the “IRS”) and the New Jersey Division of Taxation (“NJ Taxation”

 and together with the IRS and the Trustee the “Parties”) providing for clarification on the priority

 and status of certain claims. In support thereof, the Trustee respectfully states:

           1.     On February 11, 2020 (the “Petition Date”), the Debtor filed his voluntary petition

 (the “Petition”) for relief under chapter 11 of Title 11 of the United States Code, 11 U.S.C. § §

 101, et seq. (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of

 New Jersey. See Docket No. 1.
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          2.    On February 18, 2021, this Court entered an Order converting these proceedings

 from one under chapter 11 of the Bankruptcy Code to one under chapter 7 of the Bankruptcy

 Code. See Docket No. 49.

          3.    On February 18, 2021, Barry W. Frost, Esq. was originally appointed as the

 chapter 7 trustee for the Debtor’s estate. See Docket No. 50.

          4.    The Debtor’s 341(a) Meeting of Creditors (the “341 Meeting”) was held on

 March 24, 2021. See Docket generally.

          5.    On July 21, 2022, John M. McDonnell, Esq. was appointed the successor Trustee

 for the Debtor’s estate, has duly qualified and is acting in that capacity. See Docket No. 40.

          6.    On Schedule “A/B” of the Debtor’s petition, the Debtor lists an equitable

 distribution interest in the eventual sale proceeds of certain real property at 4 Lakeview Drive,

 Tinton Falls, New Jersey 07712 (the “Tinton Falls Property”) and noted the following “Debtor

 has a 50% interest in the net proceeds of the sale of the property as per Divorce Decree entered

 October 13, 2013. The [Tinton Falls] Property value is estimated at $580,000.00”. See Docket

 No. 1.

          7.    Based upon information and belief, the Tinton Falls Property was transferred from

 the Debtor and Robyn O’Brien Daly to Robin O’Brien Daly (the “Non-Debtor Titled-Owner”)

 by deed dated May 8, 2009.

          8.    Based upon further information and belief, on October 31, 2013, the Superior

 Court of New Jersey, Chancery Division, Family Part, County of Monmouth, entered a final

 Judgment of Divorce and Property Settlement Agreement whereby the parties (the Non-Debtor

 Titled-Owner and the Debtor) to that agreement agreed that each would be entitled to 50% of the




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 proceeds of the future sale of the Tinton Falls Property (the “Estate’s Equitable Distribution

 Interest”).

         9.        Based upon information and belief, the estate’s interest in the Estate’s Equitable

 Distribution Interest was limited to the future sale proceeds received in a future sale of the Tinton

 Falls Property.

         10.       The Trustee asserted the estate’s ownership interest in the Estate’s Equitable

 Distribution Interest.

         11.       On January 20, 2021, the IRS filed an amended proof of claim no. 4-3 (the “IRS

 Claim”) in which it claims it is owed a secured debt in the amount of $290,500.00, priority debt

 of $138,151.17, and a general unsecured non-priority debt of $6,559,826.69. See Docket No. 1

 and Proof of Claim No. 4-3.

         12.       On August 19, 2020, the New Jersey Division of Taxation filed a proof of claim

 no. 9-1 (the “NJ Claim” and together with the IRS Claim the “Government Claims”) in which it

 claims it is owed a secured debt in the amount of $797,575.84, a priority debt of $20,000.00, and

 a general unsecured debt of $78,677.72. See Docket No. 1 and Proof of Claim No. 9-1.

         13.       The Non-Debtor Titled-Owner desired to sell the Tinton Falls Property.

         14.       The Trustee asserts, the secured portion of the Government Claims if the

 Government Claims were secured as to the Tinton Falls Property and/or the Estate’s Equitable

 Distribution Interest and were paid in full to the IRS and the NJ Taxation then there would have

 been no equity in the Tinton Falls Property and/or the Estate’s Equitable Distribution Interest.

         15.       The IRS and the NJ Taxation did not object to sale of the Tinton Falls Property by

 the Non-Debtor Titled-Owner.




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         16.     Based upon information and belief, on or around January 2023, the Non-Debtor

 Titled-Owner sold the Tinton Falls Property and provided the Trustee the amount of $162,149.78

 (the “Sale Proceeds”) representing the 50% of the net sale proceeds of the Tinton Falls Property

 (i.e., the Estate’s Equitable Distribution Interest).

         17.     The IRS and the NJ Taxation agreed the Sale Proceeds due the bankruptcy estate

 as to the Estate’s Equitable Distribution Interest were to be paid to Trustee and the Government

 Claims, including the secured portion of the Government Claims, will be subordinated to all

 administrative claims under chapter 7 of the Bankruptcy Code.

         18.     Based upon information and belief, the projected total chapter 7 fees and expenses

 total approximately $60,000 to $65,000. These projected amounts are subject to change.

         19.     Based upon further information and belief, while both the IRS and the NJ

 Taxation have secured portions to their claims, the IRS and the NJ Taxation have agreed that the

 IRS has a first lien priority position over the NJ Taxation as to all but $483.84 of the Sale

 Proceeds. Thus, it is currently projected, after all administrative claims under chapter 7 of the

 Bankruptcy Code are paid, the NJ Taxation will be paid $483.84 as to the secured portion of its

 claim and the IRS would be paid approximately $95,000 as to the secured portion of its claim in

 a distribution to creditors. These projected amounts are subject to change.

         20.     Following good faith negotiations, the Parties desire to resolve this matter on the

 terms set forth in the Stipulation and Consent Order.

         21.     The Parties believe that the Stipulation and Consent Order provides for efficient

 an expeditious means for providing for clarification on the priority and status of certain claims –

 specifically, the Government Claims and chapter 7 administrative claims.




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        22.     Indeed, there was no real dispute between the Parties but the Stipulation and

 Consent Order does provide clarity as to the claims and will allow the Trustee to move the case

 towards closure.

        23.     Based on the foregoing, it is respectfully requested that the proposed Stipulation

 and Consent Order submitted herewith, the form of which has been agreed to by or on behalf of

 each of the Trustee, the IRS, and the NJ Taxation, be entered, and that this Court grant such other

 and further relief as it deems just and proper.


                                                   McDonnell Crowley, LLC
                                                   Counsel for John M. McDonnell,
                                                   Chapter 7 Trustee


                                                   By:   /s/ Brian T. Crowley
                                                         BRIAN T. CROWLEY

 Dated: June 19, 2023




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